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    7                                 UNITED STATES DISTRICT COURT
    8                               CENTRAL DISTRICT OF CALIFORNIA
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   10   CHRISTOPHER GORDON,                                   Case No. CV 15-04905 JFW (PLAx)

   11                               Plaintiff,
                                                              ORDER DISMISSING WITHOUT
   12            v.                                           PREJUDICE COUNTERCLAIMANTS'
                                                              SECOND COUNTERCLAIM PURSUANT
   13                                                         TO F.R.C.P. 41(a)(1)(A)(ii)
        DRAPE CREATIVE, INC., et al.,
   14                                                         [Fed.R.Civ.P. 41]
                                    Defendants.
   15
   16
        AND RELATED COUNTERCLAIM.
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                     THE COURT, having read and considered the Parties’ Stipulation Re Dismissal without
   19
        prejudice of Counterclaimants, DRAPE CREATIVE, INC. and PAPYRUS-RECYCLED
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        GREETINGS, INC.'s Second Counterclaim, and good cause appearing therefor, ORDERS AS
   21
        FOLLOWS:
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                     Count Two of the Counterclaim, located within Court Document No. 46, is hereby
   23
        DISMISSED WITHOUT PREJUDICE.
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        DATED: October 26, 2016                  _______________________________
   26                                                  Hon. John F. Walter
   27                                                  United States District Judge

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